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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 United States Securities and Exchange
 Commission,                                          Civil No. 21-cv-1445 DSD/ECW

                      Plaintiff,

 v.                                                       ORDER SETTING
                                                       PRETRIAL CONFERENCE
 Mark A. Miller et al,

                       Defendants.



       Pursuant to Rule 16 of the Federal Rules of Civil Procedure, a pretrial conference
will be held on December 1, 2023 at 9:00 a.m., before United States Magistrate Judge
Elizabeth Cowan Wright, via telephone. Counsel will be sent conference bridge
instructions via email.

        Pursuant to Rule 26(f) of the Federal Rules of Civil Procedure, counsel shall meet
via telephone prior to the scheduled pretrial conference to discuss settlement and the
matters required by Fed. R. Civ. P. 26(f), and shall jointly prepare and file a complete
written Report of the Rule 26(f) meeting at least one week prior to the pretrial
conference. NOTE: The Report must be submitted in the attached format. Please
email a copy of the report in Word format to Magistrate Judge Wright at
Cowan_Wright_Chambers@mnd.uscourts.gov.

       Counsel and pro se litigants are expected to review and familiarize themselves,
before the Rule 26(f) conference, with the Federal Rules of Civil Procedure and the Local
Rules for the District of Minnesota (“Local Rules”). A copy of the Local Rules can be
found on the Court’s website at http://www.mnd.uscourts.gov/local_rules/index.shtml.

        In addition, each party shall email to chambers at least one week before the
pretrial conference a confidential settlement letter addressing what settlement discussions
have taken place, whether the party believes an early settlement conference would be
productive, and what discovery each party believes is necessary before an early
settlement conference can take place.

       If any party does not have counsel of record listed in this case, Plaintiff’s counsel
bears the responsibility to (1) immediately notify those parties and counsel of this
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conference, and (2) inform those parties and counsel of the requirements set forth in this
notice.

       Failure of any party or counsel to comply with any part of this Notice, including
delivery of a copy of the Rule 26(f) Report to Magistrate Judge Wright’s chambers by the
time specified in this Notice, may result in the postponement of the pretrial conference,
the imposition of an appropriate sanction on the party or attorney who failed to comply,
or both.

        Lead trial counsel should make every effort to participate in the pretrial
conference. If this is not possible, substitute counsel who can knowledgeably discuss the
dispute, the matters set forth in Fed. R. Civ. P. 16(c), the Rule 26(f) Report, and the status
of settlement discussions should participate. Counsel should contact Theresa Anderson,
Magistrate Judge Wright’s Courtroom Deputy/Judicial Assistant, at 651-848-1890 with
respect to any matters concerning the pretrial conference.



Dated:                                     s/Elizabeth Cowan Wright
                                           ELIZABETH COWAN WRIGHT
                                           United States Magistrate Judge
Attachment




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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 *,
                                                                   Civil No. *
                      Plaintiff*,

 v.
                                                            RULE 26(f) REPORT
 *,

                      Defendant*.


        The parties/counsel identified below participated in the meeting required by Fed.
R. Civ. P. 26(f) and the Local Rules, on ____________, and prepared the following
report.

       The initial pretrial conference in this matter is scheduled for ____________, 20__,
before United States Magistrate Judge Elizabeth Cowan Wright, by conference bridge.

DESCRIPTION OF CASE

              1.     Concise factual summary of Plaintiff’s claims;

              2.     Concise factual summary of Defendant’s claims/defenses;

              3.     Statement of jurisdiction (including statutory citations);

              4.     Summary of factual stipulations or agreements;

              5.     Statement of whether jury trial has been timely demanded by any
              party;

              6.      Statement of whether all process has been served, all pleadings filed,
              and any plan for any party to amend pleadings or add additional parties to
              the action;

              7.      If applicable, a list of all insurance carriers/indemnitors, including
              limits of coverage of each defendant or statement that the defendant is
              self-insured; and
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              8.     If the parties would like the case resolved under the Rules of
              Procedure for Expedited Trials of the United States District Court for the
              District of Minnesota, a statement of the parties’ agreement to that effect.

CLASS CERTIFICATION MOTION (if applicable)

       1.     Plaintiff(s) shall file their motion for class certification on or before
              _____________________.

       2.     Defendant(s) shall file papers in opposition on or before _______________.

       3.     Plaintiff(s’) reply shall be filed on or before
              _________________________.

DISCOVERY

      Pursuant to Fed. R. Civ. P. 26(f), the parties must prepare a discovery plan that is
designed to maximize the efficiency of pretrial case preparation. The parties must review
and address each of the matters set forth in Fed. R. Civ. P. 26(f)(3)(A)-(F) and design a
discovery plan that is appropriate and proportionate to the case. The Court expects
counsel and parties to cooperate in the development and implementation of the discovery
plan.

        The details of the discovery plan should be set forth in this Report. The following
discovery schedule and limitations are intended to guide the parties and should be useful
in the ordinary case; however, the parties are encouraged to reach agreement on, and
suggest to the Court, a discovery plan that takes into account the unique circumstances of
the individual case. To the extent the parties cannot reach agreement on any particular
item, they should set forth their separate positions in this section so that they can be
discussed at the Pretrial Conference.

FACT DISCOVERY

       The parties recommend that the Court establish the following fact discovery
deadlines and limitations:

       1.     The parties must make their initial disclosures required by Rule 26(a)(1) on
              or before ____________________________.

       2.     Fact discovery procedures shall be commenced in time to be completed on
              or before _______________________.



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       3.     The parties do / do not believe that discovery should be conducted in
              phases or limited to or focused on certain issues or certain sources before
              others. (If so, describe.)

       4.     The parties propose that the Court limit the use and number of discovery
              procedures as follows:

              a)     No more than a total of _____ interrogatories, counted in accordance
                     with Rule 33(a), shall be served by each side. 1
              b)     No more than _____ document requests shall be served by each side.
                     The parties understand that objections to document requests must
                     meet the requirements of Rule 34(b)(2)(B).
              c)     No more than _____ requests for admissions shall be served by each
                     side.

       5.     No more than ____ Rule 35 Medical Examinations shall be taken by
              Defendant and completed by ___________________.

       6.     No more than _____ depositions, excluding expert witness depositions,
              shall be taken by either side.

       7.     Where appropriate, the parties are encouraged to discuss possible additional
              agreements concerning limitations on the number and/or length of
              depositions, procedures for noticing and taking Rule 30(b)(6) depositions,
              the arrangements that may be needed for depositions taken outside the U.S.
              and/or in a language other than English, and other issues that, if addressed
              early, could make deposition discovery more cost-effective and avoid
              costly and time-consuming disputes.

              The parties have reached the following additional agreements concerning
              the taking of depositions: ______________________________.

       8.     The parties have agreed upon the following additional limitations on
              discovery procedures: _________________________________.

       9.     Other discovery issues.

1
        The parties shall discuss and include in this section whether the proposed
limitations should be per side or per party, along with definitions of those terms if
needed. They shall also discuss and include whether any of the limitations should refer to
the number of requests served by a particular party or side or on a particular party or side.

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     a)   Discovery of Electronically Stored Information. The parties have
          discussed issues about preservation, disclosure, production, or
          discovery of electronically stored information, as required by Fed. R.
          Civ. P. 26(f), and request the Court to include the following
          agreement in the scheduling order: __________________________.
          [NOTE: If it appears there will be significant electronic discovery,
          the parties shall jointly submit a proposed ESI Protocol, identifying
          any terms on which the parties disagree so they can be discussed in
          connection with the pretrial conference. The Court refers counsel to
          “Discussion of Electronic Discovery at Rule 26(f) Conferences: A
          Guide for Practitioners,” developed by the Federal Practice
          Committee, to help attorneys and parties prepare for a meaningful
          discussion of electronic discovery issues early in the litigation. The
          Guide is available on the Court’s website under the Court Forms tab,
          in the “Pretrial, Discovery, and Trial Forms” section. The parties are
          also reminded that the proposed ESI Protocol and a proposed order
          that includes the terms of the proposed ESI Protocol must be filed on
          CM/ECF and a Word version of the proposed order must be e-
          mailed to the chambers e-mail box.]

     b)   Claims of Privilege or Protection. The parties have discussed issues
          about claims of privilege and of protection as attorney work-product
          or trial preparation materials, as required by Fed. R. Civ. P. 26(f),
          including whether the parties agree to a procedure to assert these
          claims after production, or have reached any other agreements under
          Fed. R. Evid. 502, and do / do not request the Court to include the
          following agreement in the scheduling order or as part of a
          protective order:

                 The parties agree to follow the procedure set forth in Fed. R.
                 Civ. P. 26(b)(5)(B) regarding information produced in
                 discovery that is subject to a claim of privilege or protection
                 as trial-preparation material. Pursuant to Fed. R. Evid. 502,
                 the inadvertent production of any documents in this
                 proceeding shall not constitute a waiver of any privilege or
                 protection applicable to those documents in this or any other
                 federal or state proceeding.

          If the parties do not agree to the foregoing language, and/or have
          reached other or additional agreements concerning the process for
          handling privileged or work product information that is produced in


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                     discovery and wish them to be incorporated into the Pretrial
                     Scheduling Order, those agreements should be set forth here:
                     _________________________________________________.


EXPERT DISCOVERY

(In class action cases, indicate separately whether pre-class certification experts will be
needed and provide the following information for disclosure as to such experts as well.)

      The parties anticipate that they will / will not require expert witnesses at trial, and
propose that the Court establish the following plan for expert discovery:

       1.     Plaintiff anticipates calling up to ___ experts. Defendant anticipates calling
              up to ___ experts. Each side may take one deposition per expert.

       2.     Disclosure of the identities of expert witnesses under Rule 26(a)(2)(A) and
              the full disclosures required by Rule 26(a)(2)(B) (accompanied by the
              written report prepared and signed by the expert witness) and the full
              disclosures required by Rule 26(a)(2)(C), shall be made as follows:

              a)     Identities by Plaintiff 2 on or before __________________________.
                     Disclosures by Plaintiff on or before _________________________.

              b)     Identities by Defendant on or before _________________________.
                     Disclosures by Defendant on or before _______________________.

              c) Rebuttal identities and disclosures on or before ________________.


       3.     Expert discovery, including depositions, shall be completed by _________.




NON-DISPOSITIVE MOTION DEADLINES

       The parties propose the following deadlines for filing non-dispositive motions:

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       The parties should indicate whether, given the issues in the case, it would be more
meaningful to identify the deadlines for the disclosing party by who bears the burden of
proof on an issue rather than by plaintiff or defendant.

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       1.     Except as provided in paragraph 4 below, all motions that seek to amend
              the pleadings or to add parties must be filed and served on or before
              ________________________.

       2.     All motions that seek to amend the pleadings to include punitive damages,
              if applicable, must be filed and served on or before
              _____________________.

       3.     Except as provided in paragraph 4 below, all non-dispositive motions and
              supporting documents, including those that relate to fact discovery, shall be
              filed and served on or before ___________________________________.
              [NOTE: Absent unusual circumstances, this date should be between one
              and two weeks following the close of fact discovery.]

       4.     All non-dispositive motions and supporting documents that relate to expert
              discovery shall be filed and served on or before
              ______________________. [NOTE: Absent unusual circumstances, this
              date should be between one and two weeks following the close of expert
              discovery.]

PROTECTIVE ORDER

        If either party believes a Protective Order is necessary, the parties shall jointly
submit a proposed Protective Order, identifying any terms on which the parties disagree
so they can be discussed in connection with the pretrial conference. [NOTE: The Court
has recently revised its suggested protective order form and the parties are encouraged to
consult that form in preparing a proposed protective order for entry by the Court
(http://www.mnd.uscourts.gov/local_rules/forms/Stipulation-for-Protective-Order-
Form.pdf or http://www.mnd.uscourts.gov/local_rules/forms/Stipulation-for-Protective-
Order-Form.docx).] No protective order may include language purporting to obligate
the Court or the office of the Clerk of Court to destroy or return confidential documents
to the parties after the conclusion of the case. The parties are also reminded that their
Stipulation for Protective Order must be filed on CM/ECF and a Word version of the
document must be e-mailed to the chambers e-mail box.

       The absence of a protective order entered by the Court will not be a basis for
withholding discovery or disclosures. If any document or information responsive to
discovery served in this case is deemed confidential by the producing party and the
parties are waiting for the Court to enter a protective order, the document shall be marked
“Confidential” or with some other Confidential designation (such as “Confidential -
Outside Attorneys Eyes Only”) by the producing party and disclosure of the Confidential


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document or information shall be limited to each party’s outside attorney(s) of record and
the employees of such outside attorney(s). After the Court enters a protective order, such
documents and information shall be treated in accordance with the protective order.

DISPOSITIVE MOTION DEADLINES

       The parties do / do not believe that expert discovery must be completed before
dispositive motions are filed. The parties recommend that all dispositive motions be filed
and served (and heard, depending on District Judge assigned) on or before
________________________.

SETTLEMENT

      1.     The parties must conduct a meaningful discussion about possible settlement
             before the initial pretrial conference, including a written demand by the
             Plaintiff(s) and a written response by each Defendant. The parties must
             also discuss whether private mediation or an early settlement conference
             with the Court (or another form of alternative dispute resolution) would be
             productive and, if so, when it should occur and what discovery, if any,
             would be necessary to conduct before such a conference.

             The results of that discussion, including any proposals or recommendations,
             are as follows: _______________________________________________.

      2.     Each party will email to Magistrate Judge Wright’s chambers, no later than
             one (1) week before the pretrial conference, a confidential letter of no more
             than three (3) pages, setting forth what settlement discussions have taken
             place, whether the party believes an early settlement conference would be
             productive, what discovery each party believes is necessary before an early
             settlement conference can take place and any additional, confidential
             information about the party’s interest in settlement or possible settlement
             proposals as may be of assistance to Magistrate Judge Wright in planning
             or furthering early settlement efforts. [NOTE: This confidential letter
             should not advance arguments or positions on issues that may come before
             Magistrate Judge Wright for ruling.]

      3.     The Court will discuss this topic with the parties at the pretrial conference
             and will set a date for an early settlement conference or for a status
             conference to determine when the case will be ready for a productive
             settlement conference.




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TRIAL

     1.   Trial by Magistrate Judge:

          The parties have / have not agreed to consent to jurisdiction by the
          Magistrate Judge pursuant to Title 28, United States Code, Section 636(c).
          (If the parties agree, the consent form, signed by both parties, should be
          filed with the Clerk of Court.) Please note that if the parties consent to
          magistrate judge jurisdiction, all proceedings, including trial by jury, if any,
          will be before the magistrate judge assigned to the case.

     2.   The parties agree that this case will be ready for trial on _______________.
          The anticipated length of the bench / jury trial is ____ days.

DATE: ________________________
                                              Plaintiff’s Counsel
                                              License #
                                              Address
                                              Phone #
                                              E-mail

DATE: ________________________
                                              Defendant’s Counsel
                                              License #
                                              Address
                                              Phone #
                                              E-mail




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